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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              Case No. 21-cv-22066-OTAZO-REYES

                                         CONSENT CASE

  NATIONAL SPECIALTY INSURANCE
  CO., a foreign corporation, as subrogee of
  CHRISTIAN STENHARG d/b/a
  SOUTH BEACH CHARTERS,

         Plaintiff,

  v.

  MARQUIS YACHTS, LLC., a foreign
  Corporation.


        Defendant.
  _____________________________________/

   ORDER REGARDING SUBJECT MATTER JURISDICTION ON LIMITED REMAND

         This cause came before the Court upon limited remand from the United States Court of

  Appeals for the Eleventh Circuit [D.E. 92] (the “Limited Remand Order”). The Eleventh Circuit

  Court of Appeals remanded the case for the limited purpose of determining whether this Court

  had subject matter jurisdiction in the first instance. The Court has carefully reviewed the Limited

  Remand Order, the record in this case, including the parties’ joint submission on subject matter

  jurisdiction [D.E. 95], the applicable law, and is otherwise fully advised. Following that review,

  the Court concludes that it lacked subject matter jurisdiction upon the filing of the Second

  Amended Complaint [D.E. 20].

         As such, the Court hereby ORDERS and ADJUDGES as follows:

         1.      The Order Granting Defendant’s Motion for Summary Judgment [D.E. 77] is

  VACATED.
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          2.      The Final Judgment entered in favor of Defendant on December 6, 2022 is

  VACATED.

          3.      This matter is dismissed, without prejudice, for lack of subject matter jurisdiction.

          4.      The Clerk is ordered to supplement the record and return the supplemented record

  to the Eleventh Circuit Court of Appeals for further appellate proceedings.

          DONE and ORDERED in Chambers at Miami-Dade County, Florida this 9th day of
  June, 2023.

                                                 ____________________________________
                                                 ALICIA M. OTAZO-REYES
                                                 UNITED STATES MAGISTRATE JUDGE


  cc:     Counsel of Record




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